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                                                                Exhibit A

                                                       Commission Payments

Debtor                                Ck. No.   Petition Date   Clear Date Name                          Receipts      Disbursements


WOODBRIDGE GROUP OF COMPANIES, LLC    16897       12/04/17       01/18/17     EDU WEALTH ADVISORS LLC                         3,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC    16828       12/04/17       01/13/17     EDU WEALTH ADVISORS LLC                         1,750.00
WOODBRIDGE GROUP OF COMPANIES, LLC    16520       12/04/17       01/09/17     EDU WEALTH ADVISORS LLC                         1,500.00
WOODBRIDGE GROUP OF COMPANIES,LLC     16521       12/04/17       01/09/17     EDU WEALTH ADVISORS LLC                         1,800.00
WOODBRIDGE GROUP OF COMPANIES, LLC    16522       12/04/17       01/09/17     EDU WEALTH ADVISORS LLC                         1,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC     16523      12/04/17       01/09/17     EDU WEALTH ADVISORS LLC                         3,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC    16407       12/04/17       01/09/17     EDU WEALTH ADVISORS LLC                        10,650.00
WOODBRIDGE GROUP OF COMPANIES,LLC      16461      12/04/17       01/09/17     EDU WEALTH ADVISORS LLC                         7,000.00
WOODBRIDGE GROUP OF COMPANIES,LLC      16256      12/04/17       01/05/17     EDU WEALTH ADVISORS LLC                         3,000.00
WOODBRIDGE GROUP OF COMPANIES,LLC      15873      12/04/17       12/19/16     EDU WEALTH ADVISORS LLC                         7,500.00
WOODBRIDGE GROUP OF COMPANIES,LLC      15774      12/04/17       12/19/16     EDU WEALTH ADVISORS LLC                         2,700.00
WOODBRIDGE GROUP OF COMPANIES,LLC      15680      12/04/17       12/19/16     EDU WEALTH ADVISORS LLC                         7,000.00
WOODBRIDGE GROUP OF COMPANIES,LLC      15681      12/04/17       12/19/16     EDU WEALTH ADVISORS LLC                         2,175.00
                                       15505      12/04/17       12/07/16     EDU WEALTH ADVISORS LLC                          960.00
WOODBRIDGE GROUP OF COMPANIES,LLC
WOODBRIDGE GROUP OF COMPANIES, LLC     15506      12/04/17       12/07/16     EDU WEALTH ADVISORS LLC                         3,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC     15507      12/04/17       12/07/16     EDU WEALTH ADVISORS LLC                         7,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC     15392      12/04/17       12/05/16     EDU WEALTH ADVISORS LLC                        15,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC     15393      12/04/17       12/05/16     EDU WEALTH ADVISORS LLC       1,762.50
WOODBRIDGE GROUP OF COMPANIES,LLC      15393      12/04/17       12/05/16     EDU WEALTH ADVISORS LLC                         2,350.00
WOODBRIDGE GROUP OF COMPANIES, LLC     15313      12/04/17       12/01/16     EDU WEALTH ADVISORS LLC         562.50

WOODBRIDGE GROUP OF COMPANIES, LLC     15313      12/04/17       12/01/16     EDU WEALTH ADVISORS LLC                         3,500.00
                                       15213      12/04/17       12/01/16     EDU WEALTH ADVISORS LLC                           187.50
WOODBRIDGE GROUP OF COMPANIES,LLC
                                       15213      12/04/17       12/01/16     EDU WEALTH ADVISORS LLC                           125.00
WOODBRIDGE GROUP OF COMPANIES,LLC
WOODBRIDGE GROUP OF COMPANIES, LLC     14983      12/04/17       11/23/16     EDU WEALTH ADVISORS LLC                         1,000.00
WOODBRIDGE GROUP OF COMPANIES,LLC      15020      12/04/17       11/23/16     EDU WEALTH ADVISORS LLC                         1,250.00
WOODBRIDGE GROUP OF COMPANIES,LLC      15021      12/04/17       1 1/23/16    EDU WEALTH ADVISORS LLC                         5,075.00
WOODBRIDGE GROUP OF COMPANIES, LLC     15022      12/04/17        11/23/16    EDU WEALTH ADVISORS LLC                         3,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC     15023      12/04/17        11/23/16    EDU WEALTH ADVISORS LLC                         3,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC     14642      12/04/17        11/14/16    EDU WEALTH ADVISORS LLC                         6,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC     14462      12/04/17        11/07/16    EDU WEALTH ADVISORS LLC                         5,300.00
                                       14306      12/04/17        11/07/16    EDU WEALTH ADVISORS LLC                        13,420.00
WOODBRIDGE GROUP OF COMPANIES,LLC
WOODBRIDGE GROUP OF COMPANIES,LLC      14307      12/04/17        11/07/16    EDU WEALTH ADVISORS LLC                        10,440.00
WOODBRIDGE GROUP OF COMPANIES,LLC      14308      12/04/17        11/07/16    EDU WEALTH ADVISORS LLC                         4,080.00
                                       14309       12/04/17       11/07/16    EDU WEALTH ADVISORS LLC                         3,500.00
WOODBRIDGE GROUP OF COMPANIES,LLC
WOODBRIDGE GROUP OF COMPANIES, LLC     14310       12/04/17       11/07/16    EDU WEALTH ADVISORS LLC                         4,620.00
                                                   12/04/17       11/02/16    EDU WEALTH ADVISORS LLC                           920.00
WOODBRIDGE GROUP OF COMPANIES, LLC     14215

WOODBRIDGE GROUP OF COMPANIES, LLC     14022       12/04/17       10/26/16    EDU WEALTH ADVISORS LLC                         3,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC     13847       12/04/17       10/20/16    EDU WEALTH ADVISORS LLC                        17,640,00
                                       13678       12/04/17       10/18/16    EDU WEALTH ADVISORS LLC                         3,400.00
 WOODBRIDGE GROUP OF COMPANIES,LLC
 WOODBRIDGE GROUP OF COMPANIES,LLC     13679       12/04/17       10/18/16    EDU WEALTH ADVISORS LLC                         4,200.00
 WOODBRIDGE GROUP OF COMPANIES,LLC     13434       12/04/17       10/07/16    EDU WEALTH ADVISORS LLC                         1,250.00
 WOODBRIDGE GROUP OF COMPANIES,LLC     13435       12/04/17       10/07/16    EDU WEALTH ADVISORS LLC                         2,250.00
 WOODBRIDGE GROUP OF COMPANIES,LLC     13415       12/04/17       10/07/16    EDU WEALTH ADVISORS LLC                         2,600.00
 WOODBRIDGE GROUP OF COMPANIES,LLC     13309       12/04/17       10/04/16    EDU WEALTH ADVISORS LLC                         6,000.00
 WOODBRIDGE GROUP OF COMPANIES, LLC    13228       12/04/17       10/03/16    EDU WEALTH ADVISORS LLC                         4,080,00
 WOODBRIDGE GROUP OF COMPANIES, LLC    13184       12/04/17       09/29/16    EDU WEALTH ADVISORS LLC                        14,880.00
 WOODBRIDGE GROUP OF COMPANIES, LLC    10099       12/04/17       09/22/16    EDU WEALTH ADVISORS LLC                         2,380.00
 WOODBRIDGE GROUP OF COMPANIES, LLC    10100       12/04/17       09/22/16    EDU WEALTH ADVISORS LLC                         7,000.00
 WOODBRIDGE GROUP OF COMPANIES, LLC     9576       12/04/17       09/13/16    EDU WEALTH ADVISORS LLC                         2,380.00
 WOODBRIDGE GROUP OF COMPANIES, LLC     9577       12/04/17       09/13/16    EDU WEALTH ADVISORS LLC                        18,200.00
 WOODBRIDGE GROUP OF COMPANIES,LLC      9441       12/04/17       09/02/16    EDU WEALTH ADVISORS LLC                         2,350.00
 WOODBRIDGE GROUP OF COMPANIES,LLC      9316       12/04/17       09/01/16    EDU WEALTH ADVISORS LLC                         2,800.00
 WOODBRIDGE GROUP OF COMPANIES,LLC      9211       12/04/17       08/26/16    EDU WEALTH ADVISORS LLC                          1,300.00
 WOODBRIDGE GROUP OF COMPANIES,LLC      9212       12/04/17       08/26/16    EDU WEALTH ADVISORS LLC                         4,788.00
 WOODBRIDGE GROUP OF COMPANIES,LLC      9125       12/04/17       08/23/16    EDU WEALTH ADVISORS LLC                         2,800.00
 WOODBRIDGE GROUP OF COMPANIES, LLC     9127       12/04/17       08/23/16    EDU WEALTH ADVISORS LLC                          1,250.00
 WOODBRIDGE GROUP OF COMPANIES, LLC     9128       12/04/17       08/23/16    EDU WEALTH ADVISORS LLC                         5,600.00
 WOODBRIDGE GROUP OF COMPANIES, LLC     8883       12/04/17       08/23/16    EDU WEALTH ADVISORS LLC                          1,500,00
 WOODBRIDGE GROUP OF COMPANIES, LLC     8318       12/04/17       08/10/16    EDU WEALTH ADVISORS LLC                          1,200.00
 WOODBRIDGE GROUP OF COMPANIES, LLC     8129       12/04/17       08/01/16    EDU WEALTH ADVISORS LLC                          5,250.00
 WOODBRIDGE GROUP OF COMPANIES, LLC     8130       12/04/17       08/01/16    EDU WEALTH ADVISORS LLC                          1,840.00
 WOODBRIDGE GROUP OF COMPANIES,LLC      8131       12/04/17       08/01/16    EDU WEALTH ADVISORS LLC                        11,360.00
                                        8134       12/04/17       08/01/16    EDU WEALTH ADVISORS LLC                          1,680.00
 WOODBRIDGE GROUP OF COMPANIES,LLC
 WOODBRIDGE GROUP OF COMPANIES,LLC      7452       12/04/17       07/20/16    EDU WEALTH ADVISORS LLC                          6,000.00
                                        7336       12/04/17       07/06/16     EDU WEALTH ADVISORS LLC                         2,000.00
 WOODBRIDGE GROUP OF COMPANIES, LLC
 WOODBRIDGE GROUP OF COMPANIES, LLC     7337       12/04/17       07/06/16    EDU WEALTH ADVISORS LLC                          6,300.00
 WOODBRIDGE GROUP OF COMPANIES, LLC     7271       12/04/17       07/06/16     EDU WEALTH ADVISORS LLC                         1,000.00
 WOODBRIDGE GROUP OF COMPANIES, LLC     7154      ,12/04/17        07/06/16    EDU WEALTH ADVISORS LLC                         1,600.00
                                        701 1      12/04/17        06/30/16    EDU WEALTH ADVISORS LLC                         1,000.00
 WOODBRIDGE GROUP OF COMPANIES, LLC
 WOODBRIDGE GROUP OF COMPANIES,LLC      6735       12/04/17        06/20/16    EDU WEALTH ADVISORS LLC                         7,000.00
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                                                               Exhibit A

                                                      Commission Payments

Debtor                               Ck. No.   Petition Date   Clear Date Name                        Receipts      Disbursements


WOODBRIDGE GROUP OF COMPANIES,LLC     6736       12/04/17       06,/20/16   EDU WEALTH ADVISORS LLC                        2,000.00
WOODBRIDGE GROUP OF COMPANIES,LLC     6522       12/04/17       06/17/16    EDU WEALTH ADVISORS LLC                        2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC    6523       12/04/17       06/17/16    EDU WEALTH ADVISORS LLC                        1,200.00
WOODBRIDGE GROUP OF COMPANIES,LLC     5699       12/04/17       05/23/16    EDU WEALTH ADVISORS LLC                        4,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC    5503       12/04/17       05/23/16    EDU WEALTH ADVISORS LLC                        1,600.00
WOODBRIDGE GROUP OF COMPANIES, LLC    5504       12/04/17       05/23/16    EDU WEALTH ADVISORS LLC                        1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC    5196       12/04/17       05/16/16    EDU WEALTH ADVISORS LLC                        1,200.00
WOODBRIDGE GROUP OF COMPANIES, LLC    5245       12/04/17       05/16/16    EDU WEALTH ADVISORS LLC                        1,000.00
                                                               TOTALS - 2 YEAR                           2,325.00        319,680.50


                                                               NET DISBURSEMENTS - 2 YEAR                                317,355.50
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                                                 Exhibit B

                                 Schedule of Claims Contributed by Investors
                          Broker(s): EDU Wealth Advisors, LLC / Roger Dobrovodsky

                                                             Outstanding Investor                  Net/Allowed
                                                               Principal Amounts                  Claim Amounts
Investor Name                                             Class 3             Class 5         Class 3            Class 5


ALAN L & MARY L HORN AD AY                            $   100,000.00      $                   94,716.67      $
ALMA M COOK                                               100,000.00                          95,901.37
ANTHONY R FERRARO LT                                      230,000.00                         220,944.16
BRUCE A BIGELOW                                              80,000.00                        79,108.33
CARL E KIRK                                               100,000.00                           92,666.61
CAROLE E BARNABY                                           68,400.00                           63,395.40
CAROLYN D GORNICK                                          40,000.00                           37,060.00
CHARLES J & CAROLYN G TROUTMAN                             30,000.00                           29,720.42
CLARENCE P & PHYLLIS C SMITH                                25,000.00                          24,364.56
CURTIS RLIPE                                                25,000.00                          24,819.44
CYNTHIA M LEPPERT                                           72,000.00                          68,560.72
DOLORES J SCARDINE                                          25,000.00                          24,378.46
ELIZABETH ORRICK                                          105,000.00                           95,147.50
ESTHER C FERRARO                                            40,000.00                          39,153.33
FLETCHER L & DEBORAH K VINES                                40,000.00                          37,073.33
FRANCIS M & PHYLLIS A LINEBACK                              50,000.00                          48,460.42
FREDERICK L HELLMANN                                        40,000.00                          37,027.72
GLORIA .1 CLAPP                                             50,000.00                          48,687.52
GRACE H WIREMAN                                           100,000.00                           93,333.33
HELEN LOUISE BROWN                                          30,000.00                          28,705.00
IRA SVCS TR CO-CFBO BRUCE A BIGELOW IRA                     78,000.00                          75,339.27
IRA SVCS TR CO-CFBO CAROL E BARNABY IRA                     34,000.00                          31,569.00
IRA SVCS TR CO-CFBO CHARLES D WISNER IRA                    68,000.00                          63,376.00
IRA SVCS TR CO-CFBO CHARLES P DAUS IRA                      30,000.00                          28,770.42
IRA SVCS TR CO-CFBO CHRISTOPHER K STEWART                  122,000.00                         120,719.00
IRA SVCS TR CO-CFBO COLLEEN K FINLEY IRA                    90,000.00                          82,680.00
IRA SVCS TR CO-CFBO DARYL J ST PIERRE                      141,000.00                         125,482.96
IRA SVCS TR CO-CFBO DONALD FLORENCE RO'HT                   31,000.00                           25,895.38
IRA SVCS TR CO-CFBO DONNA L DANISH IRA                     138,000.00                         130,041.71
IRA SVCS TR CO-CFBO GERALD M ARNETT IRA                     32,000.00                           31,024.00
IRA SVCS TR CO-CFBO GRACE H WIREMAN IRA                      72,500.00                          68,065.42
IRA SVCS TR CO-CFBO HAROLD D HUTTON IRA                     25,000.00                           23,578.09
IRA SVCS TR CO-CFBO JANET R WOODS IRA                        29,000.00                          27,204.05
IRA SVCS TR CO-CFBO JOHN M BERWICK IRA                       29,000.00                          28,018.83
IRA SVCS TR CO-CFBO .lOYCE A STOCK                           70,000.00                          67,005.52
IRA SVCS TR CO-CFBO JUDITH A GLAZE                           46,500.00                          45,515.75
IRA SVCS TR CO-CFBO KAREN S HAAK IRA                      260,000.00                          241,280.00
IRA SVCS TR CO-CFBO KENNETH G WALLS IRA                   244,000.00                          229,536.26
IRA SVCS TR CO-CFBO LISA J MILES                           68,000.00                            64,046.42
IRA SVCS TR CO-CFBO MELINDA K WHEELER IRA                  52,000.00                            48,569.39
IRA SVCS TR CO-CFBO MICHAEL D FISHEL IRA                  100,000.00                            94,233.33
IRA SVCS TR CO-CFBO MICHAEL DOOLITTLE IRA                 155,800.00          248,000.00      139,647.09         222,288.06
IRA SVCS TR CO-CFBO MICHAEL S SHELTON IRA                  27,000.00                            26,266.25
IRA SVCS TR CO-CFBO NATALIE M CORNETT IRA                 147,000.00                          138,293.51
IRA SVCS TR CO-CFBO NEAL A COLSON IRA                      47,000.00                            45,197.65
IRA SVCS TR CO-CFBO ROBERT G HAAK IRA                      34,000.00                            31,552.00
IRA SVCS TR CO-CFBO ROBERT P OTT IRA                       39,000.00                            37,492.00
IRA SVCS TR CO-CFBO RONALD K ROSS IRA                      30,000.00                            28,491.67
IRA SVCS TR CO-CFBO SAMUEL E GOLDEN IRA                   109,000.00                           106,229.56
IRA SVCS TR CO-CFBO SANDRA S WALLS                        179,000.00                           168,417.67
IRA SVCS TR CO-CFBO SHARI D MILLS IRA                      58,750.00                             56,732.92
IRA SVCS TR CO-CFBO TERRY L COVINGTON IRA                    138,000.00                        134,339.17
IRA SVCS TR CO-CFBO WALTER H GILBO                                            119,000.00                         114,339.15
IRA SVCS TR CO-CFBO WILLIAM C WORLAND IRA                     46,000.00                        43,022.73
 JACK D GWALTNEY                                              25,000.00                        23,305.50
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                                Schedule of Claims Contributed by Investors
Investor Name                                            Class 3          Class 5           Class 3       Class 5


JACK D GWALTNEY LT                                       101,000.00                          97,560.60
JACK W & PATRICIA A WATKINS KEYSTONE TR                  100,000.00                          94,016,67
JAMES C & DIANE C WAHL                                    30,000.00                          30,000.00
JAMES K & MALLIE V MCDOLE                                 26,000.00                          25,731.33
JAMES R & SHIRLEY L LIMP                                 100,000.00                          97,416.67
JAMES YEE                                                 25,000,00                          23,593.71
JASPER N DIRLAM RT                                        25,000,00                          23,545.87
JOAN HELLMANN                                             40,000.00                          37,829.80
JOHN J MOELLER                                           100,000.00                          98,666.67
JOHN M & KATHY .1 BERWICK                                 25,000.00                          23,789,59
JOHNNY L & CLAUDIA F LANE                                 25,000.00                          24,483.33
KENNETH W BRINGLE                                         50,000.00                          47,008.33
LARRY A WHYBREW                                          100,000.00                          94,059.69
LAWRENCE L & BRENDA J TUNGATE                             40,000.00                          39,222.91
LESLIE N & JEANETTE M GRADY                              100,000.00                          95,083.30
MAINSTAR-FBO ALBERT T WILKINS                            100,000.00                          99,770.83
MAINSTAR-FBO CAROL A COLSON                              101,000.00                         100,343,50
MAINSTAR-FBO CASSANDRA JEFFERSON                          25,000,00                          23,758.68
MAINSTAR-FBO DONALD G SETTERLOF                          142,000.00       118,000.00        131,578.93    109,340.23
MAINSTAR-FBO DONNA HARRIS-BROOKS                          23,000.00                          21,547.17
MAINSTAR-FBO JOHN L BILTZ                                100,000,00                          99,652.78
MAINSTAR-FBO LINDA DUVALL                                                     83,350.00                    76,010,57
MAINSTAR-FBO MARGARET A SETTERLOF                         85,500.00                          80,421.06
MARCIA A GATLIN                                           30,000,00                          28,154.17
MARY L MILLER                                            106,000,00                          99,687.14
MAUREEN L FERGUSON                                        30,000.00                          28,455.00
MICHAEL BROWNING                                         200,000.00                         187.541.70
MICHAEL C & LINDA J CLIFTON                               45,000.00                          42,512.50
MICHAEL L TETER RT                                       125,000.00                         1 19,955.54
MIRIAM L HOGG                                            100,000.00                           97,916.65
NORMA E CHEATHAM                                          25,000.00                           23,274.25
PHYLLIS A PARKER                                          25,000.00                           23,712.50
PHYLLIS F GOLDMAN                                         30,000.00                           26,861.67
PROV. TR GP-FBO RICHARD P GALLAMORE IRA                  100,000.00                           92,966.67
RAYMOND J & JUDY L CRADY                                  50,000.00                           46,645.89
RICHARD A & PATRICIA A EICKHOLTZ                                          200,000.00                      183,027.84
RICHARD F MERRION LT                                      25,000.00                           23,762.50
ROBERT C RAHKE                                           100,000.00                           86,440.85
ROBERT M PAQUIN                                           25,000,00                           24,774,66
SANDRA S FINKENBINE SUPP TR                               50,000,00                           46,507.00
SARAH F PERRAS                                            25,000.00                           23,433.98
SHARON L GOBER                                            50,000.00                           47,316.67
SHIRLEY R DENIS                                           80,000.00                           74,133.33
STEVEN M & DIANA L RAINS                                  50,000.00                           47,425.00
TED B CHEN                                                40,000,00                           37,261.06
THE KNOWLSON FT                                           75,000.00                           69,175,00
THE MYRON R & CAROL L LAGRANGE RLT                       150,000,00                          143,450.00
THOMAS E DELLINGER                                        25,000.00                           24,503.46
WALTER K & RUTH A VEALE                                   40,000.00                           38,949.98
WAYNE A & BETTY J STURTEVANT                             125,000,00                          122,802.03
YOSHIKO Y ESTES                                           73,000.00                           70,713,70
                       Totals                         $7,408,450.00 $ 768,350.00          $7,021,577.13 $ 705,005.85
